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     Federal Defender
2    MEGAN T. HOPKINS, #294141
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, CA 95823
     Telephone: 916-498-5700
5    Fax: 916-498-5710

6    Attorney for Defendant
     JOSE CURIEL
7
8                             IN THE UNITED STATES DISTRICT COURT

9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                        )   Case No. 2:22-cr-000151-WBS
                                                      )
12                          Plaintiff,                )   STIPULATION AND ORDER TO
                                                      )   CONTINUE STATUS CONFERENCE AND
13   v.                                               )   EXCLUDE TIME
                                                      )
14   JOSE CURIEL, ET AL                               )
                                                      )   Date: August 28, 2023
15                          Defendants.               )   Time: 9:00 a.m.
                                                      )
16                                                    )

17
18            IT IS HEREBY STIPULATED, by and between the parties, through their respective

19   counsel, Assistant United States Attorney Justin Lee, counsel for plaintiff, Assistant Federal

20   Defender Megan T. Hopkins, counsel for defendant Jose Curiel, and Clemente M. Jimenez,

21   counsel for defendant Roberto Tostado-Cadenas, that the status conference scheduled for June 5,

22   2023, be continued to August 28, 2023, at 9:00 a.m.

23            Defense counsel continues to review discovery and conduct investigation in this case.

24   The parties anticipate an initial plea offer from the government prior to the next status

25   conference, and will require additional time to review the offer with the defendants and respond

26   to the government. The parties believe a continuance to August 28, 2023, will permit defense

27   counsel the additional time necessary to conduct pretrial investigation, identify and interview

28   witnesses, obtain pertinent records, and engage in pre-plea negotiations.
     ///
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1            The parties agree that the ends of justice served by resetting the status conference date
2    outweigh the best interest of the public and the defendant in a speedy trial. Therefore the parties
3    agree that time is excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), (B)(iv) (Local Code T4).
4
5    Dated: June 1, 2023                           Respectfully submitted,
6                                                           HEATHER E. WILLIAMS
                                                            Federal Public Defender
7
                                                            /s/ Megan T. Hopkins
8                                                           MEGAN T. HOPKINS
                                                            Assistant Federal Defender
9                                                           Attorney for Defendant
                                                            JOSE CURIEL
10
11                                                          /s/ Clemente M. Jimenez
     Dated: June 1, 2023                                    CLEMENTE M. JIMENEZ
12                                                          Attorney for Defendant
                                                            ROBERTO TOSTADO-CADENAS
13
14                                                          PHILLIP A. TALBERT
                                                            United States Attorney
15
16   Dated: June 1, 2023                                     /s/ Justin Lee
                                                            JUSTIN LEE
17                                                          Assistant United States Attorney
                                                            Attorney for Plaintiff
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                            Curiel et al              -2-
      Stipulation to Continue Status Conference
       Case 2:22-cr-00151-WBS Document 40 Filed 06/01/23 Page 3 of 3


                                                  ORDER
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             IT IS HEREBY ORDERED that the preliminary hearing scheduled for June 5, 2023, at
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     9:00 a.m. is continued to August 28, 2023, at 9:00 a.m. The time period between through
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     August 28, 2023, is excluded under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A)
5
     and (B)(i) and (iv), as the ends of justice served by granting the continuance outweigh the best
6
     interest of the public and the defendant in a speedy trial.
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     Dated: June 1, 2023
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     !Unexpected
      United States v.End
                       Jose of FormulaUnited
                            Curiel et al              -3-
      Stipulation to Continue Status Conference
